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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                  ***

6    JUSTIN EDMISTON,                                    Case No. 3:21-cv-00245-MMD-CSD

7                                    Plaintiff,
                                                       AMENDED ORDER TO TRANSPORT
8           v.                                       PLAINTIFF AND ORDER TO TEST NDOC
                                                        INMATE FOR IN-PERSON COURT
9    RICHARDO SAUCEDO, et al.,                                  PROCEEDINGS

10                               Defendants.

11

12          The Court scheduled an in-person Jury Trial to begin on Wednesday, May 8,
13   2024 at 9:00 A.M. in Reno Courtroom 5 before Chief Judge Miranda M. Du.
14          IT IS ORDERED that the Nevada Department of Corrections (NDOC) shall
15   transport inmate Justin Edmiston, NDOC #1047583, to the Bruce R. Thompson Federal
16   Courthouse, 400 S. Virginia Street, Reno, Nevada, to personally attend the Jury trial on
17   May 8, 2024, at 9:00 A.M. in Reno Courtroom 5 and continuing daily until it is completed.
18   NDOC is ordered to transport Plaintiff to the courtroom no later than 8:30 A.M. each
19   day.
20          IT IS FURTHER ORDERED that the Nevada Attorney General’s Office, in
21   coordination with the NDOC, shall arrange for Plaintiff to be tested for COVID-19 within
22   14 days of the hearing and with Plaintiff’s consent. Additionally, where practicable and
23   depending on space availability, the NDOC should ensure Plaintiff is placed in
24   quarantine following the test’s administration and prior to the hearing to protect against
25   further exposure before transport to court.
26          IT IS FURTHER ORDERD that, if Plaintiff does not consent to testing, or upon a
27   positive test result, the Nevada Attorney General’s Office shall immediately notify the
28   presiding judge’s courtroom administrator that Plaintiff cannot be transported to court for
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